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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            :
                                    :
v.                                  :                 Case No. 21-CR-00152 (TSC)
                                    :                 The Honorable Tanya S. Chutkan
JOSHUA LOLLAR,                      :                 Sent. Date: March 14, 2023
                                    :
            Defendant.              :
____________________________________:

     CONSENT MOTION TO CONTINUE PLEA/SENTENCING HEARING

       Now comes the Defedant, JOSHUA LOLLAR, by and through his undersigned

counsel, Brian K. McDaniel and the Cochran Firm CDCRS, requesting by consent of the

government, the continuance of the presently scheduled Plea/Sentencing Hearing. In

support of this requests, counsel proffers the following:

       Mr. Lollar is presently scheduled for a plea and sentencing hearing in this matter

on Tuesday March 14th at 10:00 am. It has come to Mr. Lollars attention that there is now

pending a motion in the matter of United States v. Dominic Pezzola captioned “Defendant

Pezzola’s Motion For Dimissal With Prejudice; Or In the Alternative, Mistrial Regarding

Recent Revalations On Tucker Carlson and Associated Testimony And the Discovery Of

Massive Brady and Jencks Violations and Violations of Due Procees and the Sixth

Amendment” [Doc. No 679 in Case No. 21-cr-175 (TJK)]. Mr. Lollar does not wish to

unduly prolong the resolution of his case but does wish to see the ruling on this motion in

what has been referred to as the “Proud Boys” trial to determine whether any additional

information relevant to his case should have been previously been made available by the

Governement.
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       Counsel has conferred with counsel for the government in this matter, AUSA

Steven Ward, who represents that the government does not oppose the relief requested

herein for a brief continuance of the sentencing.

       WHEREFORE, counsel request a brief continuance of the presently scheduled

Plea/Sentencing Hearing to a date which is convenient to the Court and to the parties.




                                              Respectfully Submitted,

                                              /s/Brian K. McDaniel_________________
                                              Brian K. McDaniel, Esq.
                                              The Cochran Firm CDCRS
                                              1001 L. Street S.E.
                                              Washington, D.C. 20003
                                              Telephone (202) 331 – 0793
                                              Counsel for Andrew Cooper



                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY, that on this 10th day of March, 2023, the foregoing Consent
Motion to Continue Sentencing was served upon counsel for the Government by ECF
Filing.

                                              /s/Brian K.McDaniel__________________
                                              Brian K. McDaniel, Esq.




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